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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                     :    BANKRUPTCY NO. 15-17116 (ELF)
SHERA Y. SCOTT                             :    CHAPTER 13
                                           :
                       Debtor              :    HEARING SCHEDULED FOR
                                           :    September 26, 2017 at 1:00 p.m.
                                           :    UNITED STATES BANKRUPTCY COURT
                                           :    900 MARKET STREET, SUITE 400
                                           :    PHILADELPHIA, PENNSYLVANIA 19107

             DEBTOR’S MOTION TO MODIFY PLAN AFTER CONFIRMATION

        1.      Debtor filed her case on October 2, 2015 and this Court confirmed the case on

May 24, 2016.

        2.      The Debtor has decided to make payments to Santander Bank outside the plan

rather than pay the balance through the plan thus reducing her Trustee payment to succeed in her

case.

        3.      Upon entry of the Court’s Order allowing the modified plan the Debtor will file

amended Schedules I and J to accurately reflect her current income and expenses.

        4.      A copy the Modified Plan is attached to this motion.

        5.      Modification of the plan is necessary to properly fund the plan so the plan can

complete on time and so the Debtor may receive her discharge and fresh start.

        WHEREFORE, Debtor prays this Honorable Court enter the attached Order Granting

Debtor’s Motion to Modify the Plan and Confirming Debtor’s First Amended Plan filed Post-

Confirmation.




DATED:        August 25, 2017            By:    /s/ Christopher J. Kern
                                                Christopher J. Kern, Esquire
                                                Attorneys for Debtor
